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         Case 1:21-cv-10330-WGY     1 Date
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                 United States Court of Appeals
                                  For the First Circuit
                                      _____________________

 No. 21-1303

          BOSTON PARENT COALITION FOR ACADEMIC EXCELLENCE CORP.,

                                         Plaintiff - Appellant,

                                                   v.

    THE SCHOOL COMMITTEE OF THE CITY OF BOSTON; ALEXANDRA OLIVER-
  DAVILA; MICHAEL O'NEIL; HARDIN COLEMAN; LORNA RIVERA; JERI ROBINSON;
            QUOC TRAN; ERNANI DEARAUJO; BRENDA CASSELLIUS,

                                       Defendants - Appellees,

       THE BOSTON BRANCH OF THE NAACP; THE GREATER BOSTON LATINO
       NETWORK; ASIAN PACIFIC ISLANDER CIVIC ACTION NETWORK; ASIAN
          AMERICAN RESOURCE WORKSHOP; MAIRENY PIMENTEL; H.D.,

                                Defendants - Intervenors - Appellees.
                                      __________________

                                                Before

                                      Howard, Chief Judge,
                               Thompson and Kayatta, Circuit Judges.
                                     __________________

                                        ORDER OF COURT

                                     Entered: December 2, 2021

         In light of the district court's "Indicative Rule 60(b) Ruling" stating that, "if granted
 jurisdiction, this Court would DENY the [plaintiff-appellant's Fed. R. Civ. P. 60(b)] motion,"
 jurisdiction is hereby ceded to the district court to the extent necessary for it to proceed as
 indicated. We retain jurisdiction over this appeal and will continue to hold briefing in abeyance.
 The appellant is directed to continue filing status reports at 30-day intervals, the next being due 30
 days from entry of this order. Any party wishing to challenge a future ruling by the district court
 should file a new notice of appeal consistent with Fed. R. App. P. 4. See Commonwealth of Puerto
 Rico v. S.S. Zoe Colocotroni, 601 F.2d 39, 42 (1st Cir. 1979) ("If the motion for relief from
 judgment is denied by the district court, and the denial appealed, we will entertain a request to
 consolidate that appeal with the pending appeal from final judgment where feasible.").
Case: 21-1303    Document: 67 Page:
         Case 1:21-cv-10330-WGY     2 Date
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                                               Filed12/02/2021  Entry
                                                     12/02/21 Page 2 ofID:
                                                                         2 6463123




                                                      By the Court:

                                                      Maria R. Hamilton, Clerk


 cc:
 Hon. William G. Young
 Robert Farrell, Clerk, United States District Court for the District of Massachusetts
 William H. Hurd
 Callan G. Stein
 Christopher W. Carlson Jr.
 Mary Grace White Metcalfe
 Kay H. Hodge
 John Matthew Simon
 Daniel S. Manning
 Susan M. Finegan
 Andrew N. Nathanson
 Doreen M. Rachal
 Jennifer J. Clark
 Oren McCleary Sellstrom
 Mathilda McGee-Tubb
 Lauren A. Sampson
 Janelle Heather Dempsey
 Drew A. Domina
 Janet Vo
 Marc John Randazza
 Gordon M. Fauth Jr.
 Michael N. Sheetz
 Adam S. Gershenson
 Amanda Buck Varella
 Virginia Benzan
 Brian M. Alosco
 Melanie Burke
 Francisca Fajana
